                                          Re: Follow up on Iraq & Afghanistan service
                        Case 1:21-cr-00034-CRC Document 124-7 Filed 08/04/22 Page 1 of 8

         Subject: Re: Follow up on Iraq & Afghanistan service
         From: TJ Robertson <tjrobertson@rockymountva.org>
         Date: 1/11/2021, 5:31 PM
         To: Mike Allen <Mike.Allen@roanoke.com>


         On Mon, Jan 11, 2021, 3:00 PM Mike Allen <Mike.Allen@roanoke.com> wrote:

           Hello, Sgt. Robertson! This is Mike Allen with The Roanoke Times. Thank you again for speaking to
           me yesterday.


           I had a couple of speciﬁc follow-ups that I was hoping you could provide further context to.


           First, if I understood correctly, you told me that you were deployed through the Army Reserve in
           2010, and this was why you were away from the RMPD for four years. I had wri en that into our
           original version of today's story, but almost as soon as the story appeared online, we received ps
           from readers claiming that you were not overseas with the Reserve but were instead working for
           DynCorp. We removed that info with inten ons of double-checking with you for further
           clariﬁca on. I do want to make sure I did not misunderstand what you originally told me. Any
           clariﬁca on you can give me would be a huge help.


           Second, you made a post speciﬁcally naming Commonwealth's A orney A. J. Dudley, a orney
           Holland Perdue, RMPD Lt. Allan Arrington and former RMPD oﬃcer Jus n Smith as people you
           seemed to feel had some speciﬁc ill will toward you and Ofc. Fracker. I was hoping you could
           elaborate on what you meant by that and why you posted that.


           Anyway, I hope the day is trea ng you well otherwise.


           Mike Allen

           The Roanoke Times

           (540) 400-1700

           mike.allen@roanoke.com

           20191010_043323.jpg




1 of 4                                                                                                    4/5/2022, 5:47 PM
                                     Re: Follow up on Iraq & Afghanistan service
                   Case 1:21-cr-00034-CRC Document 124-7 Filed 08/04/22 Page 2 of 8




         206579_1874750470568_792149_n.jpg




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                                   Re: Follow up on Iraq & Afghanistan service
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         20180504_200054.jpg




3 of 4                                                                                4/5/2022, 5:47 PM
                                  Re: Follow up on Iraq & Afghanistan service
                  Case 1:21-cr-00034-CRC Document 124-7 Filed 08/04/22 Page 4 of 8




         A achments:

         20191010_043323.jpg                                                         332 KB
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         20180504_200054.jpg                                                         149 KB




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                                          Re: Follow up on Iraq & Afghanistan service
                      Case 1:21-cr-00034-CRC Document 124-7 Filed 08/04/22 Page 5 of 8

         Subject: Re: Follow up on Iraq & Afghanistan service
         From: TJ Robertson <tjrobertson@rockymountva.org>
         Date: 1/12/2021, 1:05 PM
         To: Mike Allen <Mike.Allen@roanoke.com>

         What are the speciﬁc doubts about my service? My DD214 is a incredibly personal document. SSN,
         parents names,home address,dependent children SSN... ect. I'll be happy to send you any other items
         but not my DD214! I'm also confused by what my service in Iraq 15 years ago and Afghanistan 10
         years ago has to do with the current situa on... can you elaborate on that? Be aware that you are
         being used as a mouthpiece for men who are engaging in criminal ac vity in an a empt to hurt their
         enemy.

         On Mon, Jan 11, 2021, 10:25 PM Mike Allen <Mike.Allen@roanoke.com> wrote:
          Hello, T.J.! I was at the Franklin County School Board mee ng, sorry that I could not answer sooner.
          I want to thank you again for your answers to my ques ons, this is in fact ﬁlling in some blanks in
          regard to ma ers I have been hearing about second and third hand for months.


           Regarding any further research into your own military service -- I apologize for giving you
           homework, but I am told that if you would be able to share a photo or scan of your DD214, that
           would lay all ques ons to rest. If you could do that, it would not be my plan to publish the image, it
           would just be for my informa on. And if you would rather not, I certainly understand!


           We have been aware of Judge Perdue's absence for months but no one will give us an explana on
           for why it is happening.



           ________________________________
           From: TJ Robertson <tjrobertson@rockymountva.org>
           Sent: Monday, January 11, 2021 7:27 PM
           To: Mike Allen
           Subject: Re: Follow up on Iraq & Afghanistan service

           CAUTION: This email originated from outside of the organiza on. Do not click links or open
           a achments unless you recognize the sender and know the content is safe.

           The barber shop is located downtown next to the post oﬃce. It is run by Todd Craighead ( name
           familiar??) Yeah, Her cousin. Who is a convicted felon and drug dealer who served Federal me.
           He is Perdues street presence.

           My statements stand. Our Republic is founded on the sanc ty of the individual vote. I'm willing to
           ﬁght for that right and any other. The oath I swore as a Soldier is as follows:
           I Thomas J Robertson do solely swear to support and defend the cons tu on of the United states
           against all enemies, foreign and domes c, and obey the orders of the President of the United states


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         and the oﬃcers appointed over me. So help me God.

         I didn't take that lightly and I have lived my life by it. If that requires strong words or ac ons I do
         not apologize for it.

         Please feel free to do your own research and look into things. Judge Perdue was very quietly
         removed but hasn't been on the bench in months.

          *

         On Mon, Jan 11, 2021, 6:02 PM Mike Allen
         <Mike.Allen@roanoke.com<mailto:Mike.Allen@roanoke.com>> wrote:
         Thank you, T.J., this is all very enlightening ... do you mind telling me which barbershop, and also
         where there might be concrete informa on available about Judge Perdue's status?


         Also, some of those screenshots from your Facebook page that are being shared on TV news sites
         have very strong wording that some might describe as militant. Do you feel that there is any
         contradic on in how you worded those posts versus what you told me yesterday about condemning
         violence and suppor ng Black Lives Ma er and other organiza ons that don't fall within
         Republican/conserva ve leanings?


         All best,


         Mike


         ________________________________
         From: TJ Robertson <tjrobertson@rockymountva.org<mailto:tjrobertson@rockymountva.org>>
         Sent: Monday, January 11, 2021 5:56 PM
         To: Mike Allen
         Subject: Re: Follow up on Iraq & Afghanistan service

         CAUTION: This email originated from outside of the organiza on. Do not click links or open
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         Perdue owns a local barber shop run by 2 federally convicted drug dealers that is a drug distribu on
         hub and money laundering opera on as it's a cash only business.

         On Mon, Jan 11, 2021, 5:51 PM TJ Robertson
         <tjrobertson@rockymountva.org<mailto:tjrobertson@rockymountva.org>
         <mailto:tjrobertson@rockymountva.org<mailto:tjrobertson@rockymountva.org>>> wrote:
         I was deployed with the US Army as a Sniper in support of opera on Iraqi freedom where I was
         awarded a bronze star and ARCOM with V device. From 2005 to 2008 because I extended my tour


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         to augment the unit who was relieving us. I was honorably discharged in 2010 as a Sergeant ﬁrst
         class. I am a graduate of US Army ranger school and LRRP. I took a job with the DOD in 2010 training
         Afghan na onal security forces,primarily their border guards. I was wounded by machine gun ﬁre
         on 09/25/2011. I returned to work for the RMPD in 2014.

         You are probably unaware of the a empted coup against our Chief by the subjects I named and
         others. Since they have le they and 2 local a orneys have spent great me and eﬀort to have
         Chief Criner removed because he will not play "Local poli cs " and turn a blind eye to crimes being
         commi ed by them and associates and being covered for by the Commonwealth a orney oﬃce.
         This includes moonshine running and drug ac vity. Go to the court and see how many mes
         Arrington's son Cody has been charged with drug oﬀenses that have been nolle pros. Google
         Arrington and see how his son was caught selling drugs logged in as evidence while Arrington
         worked for the Sheriﬀ's oﬃce. The young lady who killed and disposed of her infant child and
         received a pardon had worked on Dudley's campaign and the child was his. DNA tests disappeared
         from the ﬁles. Holland Perdues father. Judge Perdue was removed from the bench for mis handling
         cases involving his sons dealers and associates. Perdue and his associates have numerous LLCs that
         they use to launder money from drug sales and purchase strip clubs and gambling hubs. The
         constant assault on anyone who doesn't "play ball" with them and their associates is the direct
         reason that I am being targeted. Because I don't take bribes and turn a blind eye.

         On Mon, Jan 11, 2021, 5:31 PM TJ Robertson
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